Case 21-30085-hdh11 Doc 132-1 Filed 02/10/21   Entered 02/10/21 13:24:16   Page 1 of 3




                               EXHIBIT A
        [Proposed] Order Authorizing and Approving the Employment of Garman
             Turner Gordon LLP as Chapter 11 Co-Counsel for the Debtors
Case 21-30085-hdh11 Doc 132-1 Filed 02/10/21                       Entered 02/10/21 13:24:16              Page 2 of 3




                                UNITED STATES BANKRUPTCY COURT
                                  NORTHERN DISTRICT OF TEXAS
                                         DALLAS DIVISION

 IN RE:                                                       §           CHAPTER 11
                                                              §
 NATIONAL RIFLE ASSOCIATION OF                                §           CASE NO. 21-30085-hdh11
 AMERICA and SEA GIRT LLC,                                    §
                                                              §
          DEBTORS1                                            §            Jointly Administered
                                                              §

    ORDER AUTHORIZING AND APPROVING THE EMPLOYMENT OF GARMAN
    TURNER GORDON LLP AS CHAPTER 11 CO-COUNSEL FOR THE DEBTORS

         Upon consideration of the application (the “Application”) of Debtors Sea Girt LLC (“Sea

 Girt”) and the National Rifle Association of America (the “NRA” and, collectively with Sea Girt,

 the “Debtors”) for an order authorizing the retention and employment Garman Turner Gordon LLP

 (“GTG”) as counsel for the Debtors pursuant to Sections 327(a) and 328 of the Bankruptcy Code,2

 the Court finds that (i) the Court has jurisdiction over the matters raised in the Application pursuant


         1
          The last four digits of the Debtors’ taxpayer identification numbers are: 6130 (National Rifle Association
 of America) and 5681 (Sea Girt LLC).
         2
             Capitalized terms not defined herein shall have the meaning ascribed to them in the Application.

  ORDER AUTHORIZING AND APPROVING THE EMPLOYMENT OF GARMAN TURNER GORDON LLP AS                                  1
  CHAPTER 11 CO-COUNSEL FOR THE DEBTORS
Case 21-30085-hdh11 Doc 132-1 Filed 02/10/21                    Entered 02/10/21 13:24:16        Page 3 of 3




 to 28 U.S.C. § 1334(b); (ii) this is a core proceeding pursuant to 28 U.S.C. § 157(b) for which it is

 proper for this Court to enter final orders; (iii) GTG represents no interest adverse to the Debtors’

 estates that would disqualify GTG from representation of the Debtors in these Chapter 11 Cases;

 (iv) the retention of GTG as counsel for the Debtors is in the best interest of the Debtors and their

 estates, creditors and other parties-in-interest; (v) proper and adequate notice of the Application

 and the hearing thereon has been given and no other of further notice is necessary, and (vi) after

 due deliberation of the Application, the supporting declarations of together with the declarations

 of Gregory Garman and John Frazer, the proceedings had before the Court in connection therewith,

 good and sufficient cause exists for the relief requested in the Application. Therefore, it is hereby

 ORDERED, ADJUDGED, AND DECREED:

           1.           The Application is GRANTED.

           2.           The Debtors are authorized to retain and employ GTG as their counsel in these

 Chapter 11 Cases effective as of January 25, 2021 pursuant to N.D. Tex. L.B.R. 2014-1(a).

           3.           GTG shall be compensated in accordance with the procedures set forth in the

 Application, the applicable provisions of the Bankruptcy Code, the Federal Rules of Bankruptcy

 Procedure, and Local Rules, and such other procedures as may be fixed by order of the Court.

           4.           The Debtors and their counsel are authorized and empowered to take all actions

 necessary to implement the relief granted in this Order.

           5.           The Court shall retain jurisdiction to hear and consider all disputes arising out of

 the interpretation or implementation of this Order.

                                          # # # END OF ORDER # # #

 4849-7058-7354, v. 3




  ORDER AUTHORIZING AND APPROVING THE EMPLOYMENT OF GARMAN TURNER GORDON LLP AS                          2
  CHAPTER 11 CO-COUNSEL FOR THE DEBTORS
